
PER CURIAM:
Todd S. Howard and Ronald Wade Co-wan appeal from the district court’s order upholding the bankruptcy court’s authorization of the bankruptcy trustee to sell two radio stations owned by Ronald Cowan’s bankruptcy estate. Because that sale has been completed and the proceeds partially distributed, these appeals are moot. See In re Stadium, Mgt. Corp., 895 F.2d 845, 847 (1st Cir.1990) (“Absent a stay, the court must dismiss a pending appeal as moot because the court has no remedy that it can fashion even if it would have determined the issues differently.”). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

DISMISSED.

